Case 1:05-cv-01079-.]DT-STA Document 21 Filed 08/23/05 Page 1 of 2 Page|D 19

IN THE UNITED STATES DlSTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN D]VISION

'l`ERESA SMITH,

Plaintif`f,

 

VS. No. 05-1079-T/An
GREYHOUND BUS LINES, INC., a
Delaware Corporation; ARC
INTERNATIONAL/TRANS USA
CORFORATION; and ALEX YU
CHANG,

\_/\_/\/\_./\,/\_/\_/\¢_/\-»/\_/\_/\_/\_/

Defendants.

 

ORDER DENYING MOTION TO RESET TRlAL DATE AS UNNECESSARY

 

The parties in this case have filed a joint motion to reset the trial date. The parties also filed
ajoint motion to consolidate this case with several other related cases, for all pretrial proceedings,
and a joint motion to continue the scheduling conference currently set f`or August 30, 2005.

The joint motion to reset the trial date is DENIED as unnecessary, as no official trial date has
been Set in this case. The set of instructions regarding the scheduling conference, which is attached
to the Notice of Setting, specifically states that the trial date contained therein is “tentative only and
may be changed by the scheduling order.” The case Will not be placed on the Court’ s trial calendar
until a scheduling order is actually issued.

lT IS SO ORDERED.
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JA S D. TODD
UN ED STATES DISTRICT JUDGE

DATE 237 doj/agr Q»dzz§/

This document entered on the docket sheet ln compliance
with Rule 58 and,'or 79 (a) FRCP on 5

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 21 in
case 1:05-CV-01079 Was distributed by f`aX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

